






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-532 CR


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EX PARTE ELIZABETH SCOTT RICHARD






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 95089






     MEMORANDUM OPINION 


	On December 6, 2005, the trial court denied Elizabeth Scott Richard's application
for writ of habeas corpus without conducting an evidentiary hearing or issuing the writ of
habeas corpus.  We questioned our jurisdiction over the appeal.  Richard did not file a
response. 

	No appeal lies from the refusal to issue writ of habeas corpus unless the trial court
conducts an evidentiary hearing on the merits of the application.  See Ex parte Hargett,
819 S.W.2d 866 (Tex. Crim. App. 1991); Noe v. State, 646 S.W.2d 230 (Tex. Crim.
App. 1983).  The trial court did not issue a writ of habeas corpus, nor did the court
conduct an evidentiary hearing on the application for the writ.  Compare Ex parte Silva,
968 S.W.2d 367 (Tex. Crim. App. 1998); Ex parte McCullough, 966 S.W.2d 529 (Tex.
Crim. App. 1998).  We hold we have no jurisdiction over this appeal.  Accordingly, it is
ordered that the appeal be dismissed for want of jurisdiction.

	APPEAL DISMISSED.


								___________________________

								        STEVE McKEITHEN

									      Chief Justice




Opinion Delivered February 8, 2006 

Do Not Publish

Before McKeithen, C.J., Gaultney and Horton, JJ.


